EXHIBIT 2
                   REQUEST FOR PRODUCTION RESPONSE


1. Employment Records- In folder labeled “1-2” on CD
2. Disciplinary Records- In folder labeled “1-2”
3. UOF Reports- In folder labeled “3”
4. Cleet Records- In folder labeled “4”
5. We have NO RECORD of Officer little participating in internal training or training in
conjunction with other agencies.
6. Officer Little Other Shootings- In folder labeled “6”
7-9. Policies Requested- In folder labeled “7-9”
10-14. There were no 911 calls for any number requested from 7/22/2018 to present. There
was 1 non-emergency call from 7/22/2018 to present for number 918-946-3841, it’s in folder
labeled “10-14”. There were also no non-emergency calls found for the 3 other numbers
requested from 7/22/2018 to present.
15. There was 1 non-emergency call located from a Cindy Kennedy calling about a white SUV
that had ran through her fence. The audio of the call is in folder labeled “15”. There were no
calls located by a Carla Hill.
16-17. All dash cam video and information about make/model of Officer Little’s dash camera is
in folder labeled “16-17”.
18. All audio available will be on the dash cam footage. Radio audio recording system was not
functioning. It was due to this incident that we discovered our recoding system was not working
properly.
19. Chief Shirley is not authorizing the release of the Bixby Police Department’s investigation of
Officer Little’s shooting of Logan Simpson, per our department policy below. This request will
not be fulfilled without an ORDER FROM THE COURT.

INTERNAL AFFAIRS 300.18 B & G.
B. Internal Affairs File Maintenance and Security
 1. The Chief of Police is responsible for the following files:
   a. Allegations of employee misconduct;
   b. Administrative and criminal investigative reports
    c. Non-formalized inquiries into minor citizen complaints: and
    d. Complaints and results
 2. These files shall be segregated from all other Departmental files. These files shall be
designated as confidential and secured at all times.
3. Access to the files shall be limited to the following:
   a. Chief of Police;
   b. City Attorney, or members of his staff; and
   c. City Manager.
4. Review of the files by any other personnel either within or outside the Department shall be
permitted only with the authorization of the Chief of Police.
G. Concluding Administrative Duties
 1. If one or more of the allegations is sustained, the complainant shall be so informed at the
conclusion of the disciplinary process.
 2. At the conclusion of all administrative investigations, the following shall occur:
   a. The Chief of Police shall inform the complainant by letter, the findings; and
   b. The affected employee shall be given copies of investigative reports and copies will be
placed in his internal affairs file.
 3. No record of any allegation of employee misconduct, excluding finalized disciplinary action,
will appear in the employee's personnel file maintained in the Police Department and City
Personnel files.
 4. All records of all allegation of employee misconduct will be permanently filed in the Chief of
Police Internal Affairs file and copies of the finalized disciplinary action shall be retained in the
affected employee's Police and City Personnel files.
20. The Medical Examiner’s autopsy report- In folder labeled “20”
21. The Medical Examiner’s toxicology report- In folder labeled “21”
